       Case 1:05-cv-02938-RWS Document 138 Filed 02/05/09 Page 1 of 3




                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


FIDELITY INTERIOR                            )
CONSTRUCTION, INC.,                          )
                                             )
Plaintiff,                                   )
                                             )
      V.                                     )      Case No. 1:05-CV-2938-RWS
                                             )
                                             )
SOUTHEASTERN CARPENTERS                      )
REGIONAL COUNCIL,                            )
                                             )
      Defendant                              )

             DEFENDANT’S REQUESTED JURY INSTRUCTIONS

      COMES NOW Defendant Southeastern Carpenters Regional Council, and

pursuant to the Court’s Pretrial Order, hereby submits its requested instructions to

the jury.

                      JURY INSTRUCTION NO. 19

                           Definition of Labor Dispute

      You have heard testimony about the Council’s labor dispute with Fidelity,

and its campaign activities directed at third during the course of the campaign,

including the use of the term “labor dispute” while conducting bannering and

handbilling at locations where Fidelity was not present. In considering this

evidence the Court instructs you that the definition of a “labor dispute” under
       Case 1:05-cv-02938-RWS Document 138 Filed 02/05/09 Page 2 of 3




federal labor law extends beyond the dispute between the Council and a primary

target of the Council’s campaign such as Plaintiff. The definition of what a “labor

dispute” is under federal labor law is extraordinarily broad, and covers more than

disputes directly between employees and their employer. A “labor dispute”

includes any controversy concerning terms or conditions of employment, or

concerning the negotiation, fixing, maintaining, changing or seeking to arrange

terms or conditions of employment, such as pay and benefits, regardless of

whether or not the parties to the dispute stand in the employer-employee

relationship.

      29 U.S.C. Sec. 113(c)

      Triangle Const. & Maint. Corp. v. Virgin Islands Labor Union, 425 F.3d

938, 945 n. 6 (11th Cir. 2005).

      Respectfully submitted,



                                      _ /s Robert M. Weaver________
                                      Robert M. Weaver, Esq.
                                      Ga. Bar No. 558537

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       Case 1:05-cv-02938-RWS Document 138 Filed 02/05/09 Page 3 of 3




                        CERTIFICATE OF SERVICE

      The undersigned hereby certifies that the foregoing has been served on the
following parties by means of the Court’s CM/ECF systems this the 5th day of
February 2009:

James W. Wimberly, Jr., Esq.
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                                     ___s/ Robert M. Weaver______
                                     Robert M. Weaver
